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                                                                  2015-2016
                                                                              WWW.THEHILL.ORG
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Dear Students and Parents,

I continue to be excited and honored to serve as the Dean of Students at The Hill and to live                        Our Core Tenets 
                                                                                                                     Summary: Founded in 1851, T he Hill School is a purposefully
and raise my family here in this amazing community. Our Core Tenets and Mission statement,                           small and close learning community — a place where our academic
that you will find on the next pages, describe and shape who we are and work to be as a school                       excellence is based upon a challenging liberal arts curriculum and
                                                                                                                     innovative teaching; a faculty of highly qualified, dedicated teachers; 
and community, so I hope you will examine them carefully. As you will read and have heard                            a noteworthy breadth of advanced and honors course offerings; and a
                                                                                                                     structured atmosphere that blends high expectations with meaningful
from the Headmaster or our Admission Office, we are committed to Hill as The Family                                  support.
                                                                                                                                                                                                      




Boarding School. I believe you will see that the entire Handbook, our expectations, structures,
programs and policies, resonate with the idea of family.                                                             COMMUNITY. T he Hill School is an exceptionally close learning 
The adults of our community value and work toward close relationships with our students so                           community, a place where faculty and students treat each other as family –
                                                                                                                     where teachers know and care for their students as individuals and students
that we can appropriately and individually challenge each student in his or her growth to
                                                                                                                     form lifelong friendships. Purposefully smaller than most peer schools, The
maturity. The uniqueness of a boarding school is that education here is not just inside the                          Hill originally was known as The Family Boarding School and today's 
classroom, and in fact, the true lifelong lessons may be learned on the playing field, in the                        diverse students, parents, alumni, and visitors continue to cite Hill's definitive
dormitory, across the lunch or dinner table, or in any number of other places and times. Living                      feeling of family. 
and learning with students throughout the entire day is a privilege and opportunity that makes                       
                                                                                                                     ACADEMIC EXCELLENCE. T he Hill School’s reputation for academic 
every interaction a potential lesson.
                                                                                                                     excellence is based upon a challenging liberal arts curriculum, innovative
This handbook, required reading for all students and parents, lays out how our Hill family                           teaching, and a highly qualified, dedicated faculty. Intellectual growth is 
works and is guided by our School motto of “Whatsoever things are true.” The lessons from                            cultivated through a noteworthy breadth of advanced and honors course 
                                                                                                                     offerings. 
the history and traditions of The Hill School combined with decades of experience from                               
administrators and faculty here at Hill are reflected in this handbook, and we have worked                           MEANINGFUL, BALANCED STRUCTURE. T he Hill School provides
diligently to explain clearly our programs and expectations. We still rely on your common                            meaningful, balanced structure in a supportive atmosphere where shared 
sense and commitment to follow “Whatsoever things are true” in order to make our school a                            community expectations sharpen each student’s focus, promote personal 
place where everyone can best reach their potential. I look forward to seeing how the                                responsibility, build selfconfidence, and form the foundation for future
                                                                                                                     achievement. Students’ leadership and time management skills are further 
contributions of each student and family make the year ahead one of our best.
                                                                                                                     developed through highcaliber extracurricular options.
                                                                                                                     
Sincerely,
                                                                                                                     PRINCIPLES. T he Hill School values and nurtures principles of honesty
                                                                                                                     and genuineness, courtesy and respect, and gratitude and concern for the
                                                                                                                     greater good. At The Hill, character is not so much taught as subtly lived, as 
                                                                                                                     represented in the School's revered motto, “W hatsoever things are true.”
                                                                                                                     
David B. Allain                                                                                                      HISTORY AND TRADITIONS. T he Hill School is proud of its history
Dean of Students                                                                                                     and traditions, unique threads dating back to 1851 that connect the quality
                                                                                                                     of Hill's past with the vigor and excellence of its future. 
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This Handbook is an informational guide only and not a statement of contractually binding terms. The
services, programs, and policies of The Hill School are reviewed continually and changed in order to better
achieve its educational mission and philosophy. Therefore, The Hill School reserves the right to amend,
modify, add to, or delete its rules, policies, and procedures in its sole and exclusive discretion without notice.
In the pages that follow, duties that are assigned to specific administrators, such as the Dean of Students, an
Assistant Head, or the Headmaster, may be delegated to another person under appropriate circumstances.

This information is current as of July 28, 2015.

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                    Mission Statement

  The Hill School prepares young men and women from
   across the country and around the world for college,
careers, and life. Within a family school environment and
   a rigorous liberal arts curriculum, we challenge our
young people to work hard; think and reason; be fulfilled;
    serve the common good; and be prepared to lead as
   citizens of the world, uniquely guided by our motto,
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              “Whatsoever Things Are True.”
L EVEL 3 O FFENSES                                                                                  investigation (that determines his or her guilt beyond a reasonable doubt).

                                                                                                    The Discipline Committee will have discretion to respond appropriately to violations of these
Students are expected to know the difference between right and wrong. The policies included         school rules that occur elsewhere. In making recommendations, the Discipline Committee will
in this handbook guide the School’s application of the disciplinary and honor system. The           take into account both a student’s record and mitigating circumstances, always mindful of
Level 3 Offenses include our major rule                                                             what is best for the individual and best for the School community overall.
infractions which most likely will result in a
                                                        Major School Rules                          In substance use cases where the Headmaster decides that a student may remain a part of the
Discipline Committee or Honor Council hearing.
                                                                                                    community, the following steps will be automatically implemented in addition to any
A student who fails to fulfill the basic                 • Intimidation and Hazing                  prescribed punishment:
responsibilities may lose the privilege of attending     • Substance Use
                                                                                                         1. Conduct Warning
The Hill School, either temporarily in the case of
                                                         • Coed Visitation                               2. Counseling
suspension, or permanently in the case of required
                                                         • Sexual Intimacy                               3. Mandatory random drug testing
withdrawal. The Headmaster, without convening
the Discipline Committee, has the right to               • Harassment
                                                                                                    Before a problem comes to the attention of the Deans’ Office, a student, his or her parents, or
require the immediate withdrawal of any student          • Open Flame and Fire Hazards              his or her friends can seek confidential assistance, counseling, and testing through Counseling
at any time. Students who are required to
                                                         • Disreputable Behavior                    Services (p. 50). Involvement with counseling does not preclude disciplinary action should a
withdraw from the School, or withdraw in the
                                                         • Excessive Demerits                       violation of School rules come to the attention of the Deans’ Office.
face of disciplinary action, may not return to
campus until a year after their form is graduated.       • Security and Trespassing                 Alcohol and Drugs Students may not distribute or be in possession of illegal drugs or alcohol
                                                         • Weapons and Firearms                     (including drug paraphernalia), or under the influence of illegal drugs or alcohol while under
The following are major School rules; infractions
                                                                                                    the supervision of The Hill School. Abuse of over-the-counter or prescription medication is
of either the letter or the spirit of these rules are    • Automobile Misuse                        considered a serious violation and students will be held to the same standards as mentioned
serious disciplinary matters and often lead to
                                                         • Campus Bounds                            above. Dormitory violations of our Substance Use policy are especially serious offenses. The
suspension or dismissal. Students knowingly in
                                                         • Curfew                                   School will strive to maintain our dormitories as safe havens for our students. If a student’s
the presence of these rule violations add support
                                                                                                    behavior gives a faculty member cause for concern, that student will be confronted
by their presence and may also be held                   • Honor Code
                                                                                                    immediately. If this confrontation leads the faculty member to believe that the student is under
accountable.
                                                                                                    the influence of drugs or alcohol, the student will be escorted to the Health Center and
Substance Use Students are expected to remain drug and alcohol free at all times. The use of        examined by a nurse, and the Dean on Duty will be called. If there is still question in the
illegal drugs and/or alcohol and the misuse of over-the-counter or prescription drugs by            minds of this group concerning the use of drugs or alcohol, then the Dean, in consultation
students on or off campus harm both individuals and the community (refer to Medication              with the nurse and faculty member, will require a drug test so that proper care may be given.
Policy, p. 48). It violates federal, state, and local laws; it adversely affects the individual’s
physical, mental, and emotional development; and it lowers the expectations of other students       Drug Testing Drug testing can be a useful tool for protecting a student’s health and welfare
by setting a poor example of what it is to be a student at The Hill. The School is committed to     and providing motivation for a student to remain drug free. The Hill School reserves the right
preventing the use of drugs and alcohol by Hill students, especially in our dormitories. The        to test students for drugs or alcohol, and when appropriate, place a student in a mandatory
School must ensure that our dormitories are safe havens for all residents. Every student in         random testing program. The primary goal of this testing is the long term well-being of the
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school must be assured that his or her residence will be a safe, wholesome place, free of alcohol   student. We hope testing will prevent a student from developing a drug or alcohol problem
and illegal drugs. Therefore, a student found in possession of alcohol or illegal drugs, or under   and/or keep him or her from the pain and consequences of a required withdrawal or
their influence in the dormitory, will be required to withdraw from the School immediately.         suspension. Refusal to take a test will be treated as if the test results were positive. Evidence of
                                                                                                    attempted adulteration or refusal to cooperate with testing procedures in any way, will also be
The Discipline Committee will not review violations of our alcohol and drug rules in the
                                                                                                    handled as if the test results were positive.
dormitory. Instead, in such cases the student will be immediately dismissed, following a proper

                                                                                                                                                                                                      41
                                                 Drug Testing (continued)
   Room and Locker Search                        Testing may be by any scientifically accepted          Getting Help for Yourself or Another (I Care)
                                                 method selected by the School, including
   A student’s room or locker will                                                                      While we believe our policies around drugs and alcohol work to deter student use
                                                 analysis of blood, breath, saliva, urine, or hair.
                                                                                                        and help the School maintain a safer community, we do know that a percentage of
   be searched only if a faculty                 Testing is done by an approved outside                 students will continue to experiment with substance use. Students who do this
   member and a Dean concur                      laboratory and the fee is set by the laboratory,       endanger their lives and their Hill School careers. With the ultimate priority of
                                                 not by the School. Parents are responsible for the     students’ physical well-being in mind we have created the I Care (Immediate Care)
   that there is reason to believe it                                                                   system that will allow students to get help for themselves or other students without
                                                 cost of the tests.
   contains stolen items, drugs,                                                                        the threat of a disciplinary response. I Care allows students to care for each other
                                                 A student in the mandatory substance testing           by seeking the assistance of an adult in dangerous situations without fear of
   drug paraphernalia, alcohol, or                                                                      dismissal or other disciplinary action.
                                                 program who tests positive for illegal drugs or
   other hazardous materials. The                alcohol will likely be required to withdraw from
                                                                                                        Basic Principles of I Care
   student and at least two faculty              The Hill School. Subject to the legitimate
   members will be present during                interests of The Hill School and its students,         1. A student may bring him/herself or another student under the influence of a
                                                 efforts will be made to maintain the privacy of           substance, or information concerning risky behavior related to substance use, to
   the search.                                                                                             any adult in the community without fear of a disciplinary response.
                                                 students required to undergo drug or alcohol
                                                                                                        2. Must be student initiated.
                                                 testing.                                                  a. Not valid if an adult has already observed, obtained evidence, or is
                                                                                                               investigating that a violation has occurred. In other words, students are
Tobacco Students may not be in possession of or use tobacco or nicotine products in any form                   bringing information to adults that they do not already have or would not
-- including but not limited to cigarettes, e-cigarettes, cigars, vaporizers, chewing tobacco, and             otherwise become available to adults.
dip. A first offense will result in restriction for five days, a weekend of detention, and                 b. Faculty who observe or discover a violation are expected to follow
participation in a tobacco cessation program. In addition, students in possession of a vaporizer               established disciplinary procedures.
                                                                                                        3. Students who take advantage of this system will be put on a no-use contract,
will be drug tested. A second offense will result in suspension or an appearance before the                randomly drug tested, and assessed and counseled as recommended by the
Discipline Committee. A third offense will result in immediate dismissal from the School.                  Counseling Office.
Indoor smoking involving a lit flame is grounds for dismissal (see Open Flames and Fire                 4. When a faculty member is following up on an I Care report, the student in
Hazards).                                                                                                  question must cooperate fully and be honest about their situation. If a student
                                                                                                           denies being under the influence or refuses to cooperate with the faculty
Open Flames and Fire Hazards The possession or use of an open flame, including matches,                    member, they will be subject to discipline.
lighters, candles, cigarettes, incense, fireworks or any other fire hazard in a school building, is a   5. A student who violates his or her no-use contract by either a positive drug test
                                                                                                           or another use of the I Care system will be dismissed.
serious safety threat to the members of our community. Violators will appear before the
Discipline Committee.                                                                                   Specifics
Disreputable Behavior A student should not show blatant disrespect towards the community                    • Students may call or go to any adult (Security, dorm parent or other
or its individual members. There should be no intentional action that disrupts the operation of               faculty member, Health Center) on campus with information about another
the School community, or endangers the physical, mental, or emotional health of its members,                  student under the influence. A friend who cares will ideally escort his or her
                                                                                                              friend to an adult, but may need to care enough to simply let an adult know
or brings discredit to the School. Breaking federal, state, or local laws is considered                       about another student’s current dangerous situation.
disreputable behavior. Any excessive or repeated failure to meet school duties or expectations is           • The above must be done before any adult discovers or is investigating that a
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also disreputable behavior. This includes the purchase, possession, use, or creation of                       violation has occurred.
counterfeit documents, e.g. driver licenses, ID cards, etc.                                                 • We encourage students to care so much about their friend’s health and Hill
                                                                                                              career that they act immediately when they know of or see another student
Excessive Demerits or Repeated Restrictions Students may not exceed the demerit limit                         under the influence.
three times in one school year or exceed the limit by four demerits. Students who repeatedly                • Once a student takes advantage of the I Care system, he or she will be taken
                                                                                                              to the Health Center for proper medical care.
earn restriction will likely appear before the Discipline Committee.

                                                                                                                                                                                               42
Coed Visitation Students may not enter halls or dormitories assigned to the opposite sex.           Harassment The Hill School is a community in which every individual is to be treated with
However, students seeking help from a faculty member who lives in a dormitory that houses           dignity, respect, and esteem. The School forbids physical, verbal, or psychological harassment
the opposite sex may visit the faculty member from an outside or stairwell door.                    of any kind directed against any individual or group of individuals. Harassment includes both
                                                                                                    easily identified acts of oral, written, digital photos or videos, or physical abuse, and more
After October 1st, designated common rooms are open to coed visitation, hours are posted in
                                                                                                    subtle, but equally damaging forms of harassment, such as graffiti, epithets, and racially
dormitories.
                                                                                                    stereotyped remarks or racially stereotyped jokes. Harassment targeting ethnic heritage,
Sexual Intimacy The Hill educates students in all aspects of their lives — the intellectual,        religious beliefs, gender, sexual orientation, race, age, disability, or participation in protected
physical, spiritual, and moral — and even in how they relate to one another. We encourage           activity under the discrimination laws is of particular concern.
among our students warm, supportive friendships, which we believe are fundamental to the
proper development of young people; however, we insist that students refrain from intimate
sexual relationships, which distract youngsters from achieving the self-discipline of mature        Sexual Harassment Policy:
young adults. The School has equal expectations for students regardless of their sexual             a. Sexual harassment is defined as unwelcome sexual advances, requests for sexual favors, and
orientation.                                                                                        other verbal or physical or psychological conduct of a sexual nature when:
                                                                                                            (1) Submission to such conduct is made either explicitly or implicitly a term or
Hill students who engage in such intimate relationships must consider two important matters.
                                                                                                                condition of an individual’s employment or participation in an educational
First they face disciplinary action, including possible separation from the School. Violations
                                                                                                                program.
will be referred to the Executive Council in lieu of the Discipline Committee. Second, they
                                                                                                            (2) Submission to or rejection of such conduct by an individual is used as a basis for
face other risks: the possibility of pregnancy, sexually transmitted disease, and HIV. Students
                                                                                                                employment decisions or for academic evaluation or advancement.
who become pregnant, those who father children, and those who are married will be required
                                                                                                            (3) Such conduct has the purpose or effect of unreasonably interfering with an
to withdraw from the School.
                                                                                                                individual’s work or academic performance or creating an intimidating, hostile, or
We believe that students should learn of those risks through confidential counsel from the                      offensive working or educational environment.
School’s physicians, nursing staff, counselors, chaplains, and faculty, and should discuss those    b. Sexual harassment is not social or courting behavior. It is uninvited and unwanted and is
matters with their parents as well. Consistent with the School’s position on this important            often an assertion of power.
subject, our Health Center does not provide students condoms or other contraceptive devices.        c. Sexual harassment may include:
We believe also that the School should, through instruction and counsel, help each student to               (1) Physical assault, including rape, or any coerced sexual relations;
develop a strong character that emphasizes individual responsibility, self-respect, and respect             (2) Subtle pressure for sexual activity or for a relationship that takes on a sexual or ro-
for others.                                                                                                     mantic coloring, thereby exceeding the limits of a healthy student/student, adult/
Finally, we recognize the many pressures that young people nowadays feel to engage in sexual                    student, or adult/adult friendship;
activity; we hope that the School’s position empowers and supports them to resist those                     (3) Any demeaning sexual propositions;
pressures.                                                                                                  (4) Unnecessary touching in any form;
                                                                                                            (5) Sexually explicit or suggestive remarks about a person’s physical attributes, cloth-
Bullying and Hazing Bullying, verbal or physical intimidation, or hazing is unacceptable                        ing, or behavior;
behavior in our community. At the heart of each of these is unkind, cruel, or threatening                   (6) Verbal abuse; or
behavior to others that is easily recognized and completely inappropriate. Cyber-bullying, the              (7) Inappropriate personal questions.
sending or posting of hurtful text or images to or about others, using any sort of digital device
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(computer, cell phone, or any other sort of personal digital assistant) will not be tolerated and   Sexual harassment includes written and oral remarks,whether emailed, texted, posted online,
will be dealt with severely. Physical confrontations will most likely result in an off-campus       or messages left on voice mail systems.
suspension or, in serious cases, an appearance before the Discipline Committee. This includes
whitewashing, binding, taping, and restraining another person. None of the above behavior
can be justified by the claim it was “in fun,” “just teasing,” a joke or prank.


                                                                                                                                                                                                     43
Sexual Harassment Policy (continued...)
d. Procedure for Investigation of Complaints and Enforcement: Anyone who believes that he                   (6) Retaliation in any form against the complainant who has exercised his or her right
   or she has been, or is being, harassed by a fellow student or by a School employee,                          to make a complaint under this policy is strictly prohibited, even if the
   contractor, parent, alumnus, or volunteer should promptly take the following action:                         investigation concludes that no harassment has occurred. Retaliation will be cause
                                                                                                                for appropriate discipline, up to and including required withdrawal from School.
       (1) Tell the harasser politely but firmly that his or her conduct is not welcome and                 (7) The Hill School views any unfounded, baseless accusation of harassment to be a
           must stop.                                                                                           serious offense. Therefore, if The Hill School concludes that an individual has
       (2) If the conduct persists, or if the harassed individual is afraid for any reason to                   wrongfully accused any individual of harassment, The Hill School reserves the right
           confront the harasser, or if the harassed individual believes she or he has been                     to take appropriate disciplinary action against such an individual, up to and
           retaliated against by the harasser for invoking Step (1), or if the harassed                         including required withdrawal from School.
           individual believes that the accused’s conduct involves a threat of adverse
           academic action for refusing to participate in sexual activities, or a promise of        Security and Trespassing Violations Students may not possess or use unauthorized keys,
           academic advancement if the individual does participate in sexual activities,            access cards, locks, computer passwords, or fire extinguishers. Tampering with door locks,
           then the harassed individual should bring the problem confidentially to the              electrical wiring, smoke detectors, or fire alarms endangers all dorm occupants and will not be
           attention of the School official designated in paragraph (3) below. The                  tolerated. In addition, students may not be in a locked room (dorm, classroom, etc.).
           individual may do so without fear of any retaliation, humiliation, or                    Trespassing, gaining entrance to a locked building, or being in a restricted area including
           recrimination.                                                                           digital spaces in any fashion is a major rule violation. Propping open any locked outer
       (3) The official designated to receive complaints of harassment from students is the         dormitory door on campus jeopardizes the safety of its occupants.
           Assistant Headmaster for Student Life. If the student making the complaint is
           more comfortable with the Dean of Students, he or she may make the                       Weapons and Firearms Students may not be in possession of firearms, weapons, knives, or
           complaint to that person.                                                                any items resembling firearms or weapons. Paintball guns must be turned in to the Business
       (4) The official receiving the complaint of harassment will lead an investigation of         Office for storage.
           any such allegations of harassment in as confidential a manner as is reasonably          Motor Vehicle Misuse Some incidents of motor vehicle violations may result in an appearance
           possible. As a part of the investigation, the investigating officials reserve the        before the Discipline Committee.
           right to speak with individuals within the School community and legal counsel
           for the School. The accused individual will be given an opportunity to respond           Dormitory Curfew Students may not leave the dormitory after check in until 6:00 a.m. the
           to the allegations, but ordered not to confront or retaliate against the                 following morning and then must remain on campus until the end of the academic day. Only
           complaining person concerning the allegations. If possible, neutral witnesses            those granted specific permission by a faculty member may travel between dormitories after
           will be interrogated, again in confidence. All participants in the investigation         check in. Students are not to leave the dormitory to pick up food deliveries.
           will be instructed to keep the matter strictly confidential and will be disciplined
           if they fail to do so.                                                                                              Street Smarts (in Pottstown and
       (5) At the conclusion of the investigation, if it is reasonably determined that it is more                              any other town or city)
           likely than not that harassment has occurred, the perpetrator will be subject to
                                                                                                                               • Travel in groups of two or more.
           appropriate discipline up to and including expulsion from attendance, and other
           remedial steps may be taken. Such remedial steps may include separating the                                         • Use High Street--travel east.
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           individuals’ educational relationships or expunging any documents created by the
           harassment, such as an unfair performance review or grade of the harassed person                                    • Use public roads; do not walk
                                                                                                                                 through private property.
           by the harasser. The complaining party and the harasser shall both be informed of
           the results of the investigation.                                                                                   • Wear a helmet if biking and
                                                                                                                                 observe traffic signs; be aware!


                                                                                                                                                                                                  44
